                  Case 15-2361, Document 38, 11/03/2015, 1634185, Page1 of 1



MANDATE                                                                                  E.D.N.Y.—Bklyn
                                                                                              06-md-1775
                                                                                               Gleeson, J.
                                                                                          Pohorelsky, M.J.

                             United States Court of Appeals
                                                   FOR THE
                                            SECOND CIRCUIT
                                            ________________

                   At a stated term of the United States Court of Appeals for the Second
     Circuit, held at the Thurgood Marshall United States Courthouse, 40 Foley Square,
     in the City of New York, on the 3rd day of November, two thousand fifteen.

     Present:
                    Peter W. Hall,
                    Raymond J. Lohier, Jr.,
                          Circuit Judges,
                    Christina Reiss,
                          Chief District Judge.*

     In re Air Cargo Shipping Services Antitrust Litigation.                     15-2361


     In re Air Cargo Shipping Services Antitrust Litigation.                     15-2365

     The Petitioners in the above-captioned cases move, pursuant to Federal Rule of Civil Procedure
     23(f), for leave to appeal the district court’s order granting Respondents’ motion for class
     certification. Petitioners Polar Air Cargo LLC, Polar Air Cargo Worldwide, Inc., and Atlas
     Worldwide Holdings, Inc. also move for leave to file a reply. Upon due consideration, it is hereby
     ORDERED that the motion for leave to file a reply is DENIED, and the Rule 23(f) petitions for
     leave to appeal are DENIED because an immediate appeal is unwarranted. See Sumitomo Copper
     Litig. v. Credit Lyonnais Rouse, Ltd., 262 F.3d 134, 139-40 (2d Cir. 2001).

                                                  FOR THE COURT:
                                                  Catherine O=Hagan Wolfe, Clerk




     * Chief Judge Christina Reiss, of the United States District Court for the District of Vermont,
     sitting by designation.




MANDATE ISSUED ON 11/03/2015
